       Case 2:21-mc-01230-JFC Document 2498 Filed 02/09/24 Page 1 of 2




                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 In re Philips Recalled CPAP, Bi-Level PAP, Master Docket No. 2:21-MC-1230
 and Mechanical Ventilators Product Liability
 Litigation                                   MDL No. 3014

 This Document Relates to:                Judge Joy Flowers Conti
 Consolidated Second Amended Class Action
 Complaint for Medical Monitoring

                         NOTICE OF VOLUNTARY DISMISSAL


       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(i), Plaintiff and putative class

representative Boniface J. Mills has developed cancer and hereby withdraws as a putative class

representative and dismisses his claims asserted in the Consolidated Second Amended Class

Action Complaint for Medical Monitoring (ECF No. 815) and in his underlying case, Case No.

2:21-cv-1214 (W.D. Pa.) against all defendants without prejudice. Plaintiff Christopher Glaub

will continue to serve as a putative class representative for the state of Nebraska in the

Consolidated Second Amended Class Action Complaint for Medical Monitoring.



DATED: February 9, 2024                           Respectfully submitted,

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        Case 2:21-mc-01230-JFC Document 2498 Filed 02/09/24 Page 2 of 2




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